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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 DEREK ANTOL, et al.,

        Plaintiffs,
                                                                    Case No. 1:17-cv-613
 v.
                                                                    HON. JANET T. NEFF
 ADAM DENT, et al.,

        Defendants.
 ____________________________/


                                             ORDER

       Defendants Adam Dent, Kate Strauss and Casey Bringedahl filed a Pre-Motion Conference

Request concerning their anticipated motion for summary judgment (ECF No. 39), and Defendant

Casey Trucks filed a Pre-Motion Conference Request concerning his anticipated motion for

summary judgment (ECF No. 40). Defendants Pete Kutches and Western Michigan Enforcement

Team have failed to file a response to the Pre-Motion Conference Requests. Therefore,

       IT IS HEREBY ORDERED that Defendants Pete Kutches and Western Michigan

Enforcement Team shall each file a Response to the Pre-Motion Conference Requests no later than

June 19, 2018. Counsel shall adhere to the requirements set forth in Judge Neff’s Information and

Guidelines   for      Civil   Practice,   which   are   available   on   the   Court’s     website

(www.miwd.uscourts.gov).



Dated: June 12, 2018                                         /s/ Janet T. Neff
                                                            JANET T. NEFF
                                                            United States District Judge
